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 Fill in this information to identify your case:
 Debtor 1           Anthony Leon Hicks
                         First Name                 Middle Name            Last Name
 Debtor 2
 (Spouse, if filing)     First Name                 Middle Name            Last Name
                                                                                                                      Check if this is an amended plan, and
 United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                  list below the sections of the plan that
                                                                                                                      have been changed. Amendments to
                                                                                                                      sections not listed below will be
                                                                                                                      ineffective even if set out later in this
 Case number:            22-51791                                                                                     amended plan.
 (If known)                                                                                                           1.3, 2.1, 3.1, 3.2, 3.3 4.3, 4.4, 5.1


Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                           cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                           Chapter 13 Plans and Establishing Related Procedures, General Order No. 41-2020, available in the Clerk’s Office and on
                           the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                           Order No. 41-2020 as it may from time to time be amended or superseded.

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                           judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed allowed
                           unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be controlling,
                           unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.

 § 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no               Included                   Not Included
              payment at all to the secured creditor, set out in § 3.2
 § 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in § 3.4
 § 1.3        Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included

 § 1.4        The plan provides for the payment of a domestic support obligation (as defined in 11               Included                   Not Included
              U.S.C. § 101(14A)), set out in § 4.4.

 Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1         Regular Payments to the trustee; applicable commitment period.


              The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

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 Debtor                Anthony Leon Hicks                                                         Case number


                Check one:                    36 months                 60 months

             Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $1,800.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2        Regular Payments; method of payment.

             Regular Payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                      trustee the amount that should have been deducted.

                          Debtor(s) will make payments directly to the trustee.

                          Other (specify method of payment):


§ 2.3        Income tax refunds.

             Check one.

                          Debtor(s) will retain any income tax refunds received during the pendency of the case.

                          Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within
                          30 days of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during
                          the applicable commitment period for tax years 2021, 2022, 2023 , the amount by which the total of all of the federal
                          income tax refunds received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If
                          debtor's spouse is not a debtor in this case, "tax refunds received" means those attributable to the debtor.

                          Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4        Additional Payments.

             Check one.

                          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5        [Intentionally omitted.]

§ 2.6        Disbursement of funds by trustee to holders of allowed claims.

             The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-orders)

 Part 3:      Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.

             Check one.




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                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the
                          current contractual installment payments on the secured claims listed below, with any changes required by the applicable
                          contract and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any
                          existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate
                          stated below.

                  If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
                  orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
                  will no longer be treated by the plan.
 Name of creditor                  Collateral                                  Estimated amount of           Interest rate on     Monthly plan
                                                                               arrearage (if any)            arrearage            payment on
                                                                                                             (if applicable)      arrearage


 Specialized Loan                              5667 Bob White Circle NW Lilburn,
 Servicing, LLC                                GA 30047 Gwinnett County
                                                                                           $1,957.25                            0.00%                          $75.00


§ 3.2        Request for valuation of security and modification of certain undersecured claims.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.

                          For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set
                          out in the column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court
                          orders otherwise, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls
                          over any contrary amount listed below. For each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy
                          Rule 3012 and the Chapter 13 General Order to request determination of the amount of the secured claim.

                          For each listed claim below, the value of the secured claim will be paid in full, with interest at the rate stated below. For a
                          secured tax claim, the interest rate shall be the interest rate stated in the proof of claim. The portion of any allowed claim that
                          exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the amount of a
                          creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety as an
                          unsecured claim under Part 5 of this plan.

                          The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                          creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                          under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Check        Name of creditor             Estimated            Collateral    Value of     Amount of      Amount of Interest Monthly pre- Monthly post
 only if                                   amount of            and date of   collateral   claims         secured   rate     confirmation -confirmation
 motion                                    total claim          purchase                   senior to      claim              adequate     payment
 to be                                                                                     creditor's                        protection
 filed                                                                                     claim                             payment




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                                                                2015 Nissan
                                                                Sentra 103K
                                                                Miles miles

                                                                Opened                                                                                        $200.00
                                                                05/18 Last                                                                               increasing to
                                                                Active                                                                                      $744.00 in
                                                                1/18/22                                      $7,881.05    6.00%          $200.00            December
              Ally Financial               $7,783.00                            $7,881.05            $0.00                                                       2022

§ 3.3        Secured claims to be paid in full.

             Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below will be paid in full under the plan. Reasons for payment in full may include:

                          (1) were incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                          acquired for the personal use of the debtor(s), or

                          (2) were incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          (3) the value of the collateral exceeds the anticipated claim; or

                          (4) the claim listed shall be paid in full because the claim is cosigned; or

                          (5) the claim shall be paid in full because the debtor is not entitled to a discharge.
                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                          trustee.

                          The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                          creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                          The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier
                          of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                          under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Name of Creditor                Collateral                     Purchase date     Estimated amount     Interest rate   Monthly              Monthly
                                                                                  of claim                             preconfirmation      postconfirmation
                                                                                                                       adequate             payment to creditor
                                                                                                                       protection           by trustee
                                                                                                                       payment
                                 All debtor's real                                                                                            $100.00 increasing to
                                 and personal                                                                                                 $778.00 in December
 Republic Finance                property                       09/2021           $8,379.66                   5.25%               $100.00                     2022

§ 3.4        Lien avoidance.

Check one.

                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5        Surrender of collateral.

             Check one.


                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
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 Debtor                Anthony Leon Hicks                                                         Case number

                          request(s) that, upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
                          the stay under § 1301 be terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed
                          unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. No payments as to the collateral
                          will be made, and all secured claims based on the collateral will not otherwise be treated by the plan.

 Name of Creditor                                                         Collateral
                                                                          8505 W. Irolo Bronson Memorial Hwy Kissimmee, FL 34747 Osceola
 Orange Lake Resorts                                                      County


 § 3.6       Other Allowed Secured Claims.

           A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the
             rate of 5.5 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
             interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
             of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
             U.S.C. § 522(f), if applicable.

           If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
              claim will be treated as an unsecured claim under Part 5 of this plan.

           The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

           (a) payment of the underlying debt determined under nonbankruptcy law, or

           (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
             § 1328, at which time the lien will terminate and be released by the creditor.

 Part 4:      Treatment of Fees and Priority Claims

§ 4.1        General.

             Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
             regardless of whether it is listed in § 4.4.

§ 4.2        Trustee’s fees.

             Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3        Attorney’s fees.

             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
             $ 4,000.00 . The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
             debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
             set forth in the Chapter 13 Attorney's Fees Order.

             (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney's Fees Order up to the
             allowed amount set forth in § 4.3(a)

             (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 1,317.00 per month from Regular
             Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney's Fees Order until all allowed amounts
             are paid in full.

             (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
             debtor(s) the amount of $ 2500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
             attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
             from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

             (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
             $ 2500.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set
             forth in the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum

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 Debtor                Anthony Leon Hicks                                                                Case number

             amount within 14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
             the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney

             (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
             debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

             (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
             allowed fees, expenses, and costs that are unpaid.

§ 4.4        Priority claims other than attorney’s fees.

                          None. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.

                          The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition
                          domestic support obligations directly to the holder of the claim.

                                                                     Name and address of child
                                                                     support enforcement agency
  Name and address of creditor                                       entitled to § 1302(d)(1) notice    Estimated amount of claim        Monthly plan payment
  -NONE-

                                                                                                                                     $                                   $

                   The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

  Name of creditor                                                                                             Estimated amount of claim
  Georgia Department Of Revenue                                                                                $127.90
  Internal Revenue Service                                                                                     $7,239.32


 Part 5:      Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
             will receive:

             Check one.

                  A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                 A pro rata portion of the larger of (1) the sum of $ 18,000.00                  and (2) the funds remaining after disbursements have been made to
             all other creditors provided for in this plan.

                The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
             been made to all other creditors provided for in this plan.

                  100% of the total amount of these claims.

             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
             filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
             for the debtor(s), and other priority claims under Part 4.

§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3        Other separately classified nonpriority unsecured claims.

             Check one.

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                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:       Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:       Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
             the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
             the completion of payments by the debtor(s).

 Part 8:       Nonstandard Plan Provisions

§ 8.1        Check "None" or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Co-Debtor on debt owed to Performance Finance for a Polaris Slingshot will pay directly outside of the Chapter 13 Plan.
Co-Debtor on debt owed to Americredit/GM Financial for a 2012 Nissan Altima will pay directly outside of the Chapter 13 Plan.

 Part 9:       Signatures:

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).

             The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the
             debtor(s), if any, must sign below.

 X      /s/ Anthony Leon Hicks                                                         X
        Anthony Leon Hicks                                                                 Signature of debtor 2 executed on
        Signature of debtor 1 executed on                  September 28,
                                                           2022

        5667 Bob White Circle NW
        Lilburn, GA 30047
        Address                                            City, State, ZIP code           Address                             City, State, ZIP code

 X      /s/ Shannon Worthy                                                         Date: September 28, 2022
        Shannon Worthy 733895
        Signature of attorney for debtor(s)

        Stanton and Worthy, LLC                                                         547 Ponce De Leon Ave
                                                                                        Suite 150
                                                                                        Atlanta, GA 30308
        Firm                                                                            Address                                City, State, ZIP code

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                       )
                                             )      CHAPTER 13
ANTHONY LEON HICKS,                          )
                                             )      CASE NO. 22-51791-PWB
                                             )
DEBTOR.                                      )

                                CERTIFICATE OF SERVICE

       I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the foregoing Pre-Confirmation Modified Plan and/or Modification Statement upon the
following by depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to
ensure delivery:

Anthony Leon Hicks (via electronic delivery)
5667 Bob White Circle
Lilburn, GA 30047

{See attached Creditors Matrix}

       I further certify that, by agreement of parties, K. Edward Safir, Standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system.

                                                    Done, this 28th day of September 2022.

                                                      /s/Shannon C. Worthy
                                                    Shannon C. Worthy
                                                    Attorney for Debtor
                                                    Georgia Bar No.: 733895
                                                    Stanton and Worthy, LLC
                                                    547 Ponce de Leon Ave., NE Suite 150
                                                    Atlanta, GA 30308
                                                    404-800-6415 Phone
                                                    Shannon.worthy@stantonandworthy.com
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Label Matrix for local noticing                   ATTY:Document
                                                        Mandarich Law Group
                                                                         PageLLP 9 of 11          Acima Credit
113E-1                                            125 Townpark Dr. Suite 350                      9815 South Monroe Street
Case 22-51791-pwb                                 Kennesaw, GA 30144-5946                         4th Floor
Northern District of Georgia                                                                      Sandy, UT 84070-4384
Atlanta
Thu Jul 21 11:45:24 EDT 2022
Ally Bank                                         Ally Bank                                       Ally Financial
c/o AIS Portfolio Services, LP                    4515 N. Santa Fe Ave. Dept. APS                 Attn: Bankruptcy
4515 N Santa Fe Ave. Dept. APS                    Oklahoma City, OK 73118-7901                    Po Box 380901
Oklahoma City, OK 73118-7901                                                                      Bloomington, MN 55438-0901


AmeriCredit Financial Services, Inc. DBA GM       AmeriCredit/GM Financial                        American Express National Bank
P O Box 183853                                    Attn: Bankruptcy                                c/o Becket and Lee LLP
Arlington, TX 76096-3853                          Po Box 183853                                   PO Box 3001
                                                  Arlington, TX 76096-3853                        Malvern PA 19355-0701


Amex                                              Caliber Home Loans                              Capital One
Correspondence/Bankruptcy                         Attn: Bankruptcy                                Attn: Bankruptcy
Po Box 981540                                     P.O. Box 24610                                  P.O. Box 30285
El Paso, TX 79998-1540                            Oklahoma City, OK 73124-0610                    Salt Lake City, UT 84130-0285


Cavalry Portfolio Services                        Cavalry SPV I, LLC                              (p)JPMORGAN CHASE BANK N A
Attn: Bankruptcy                                  PO Box 4252                                     BANKRUPTCY MAIL INTAKE TEAM
500 Summit Lake Drive, Suite 400                  Greenwich, CT 06831-0405                        700 KANSAS LANE FLOOR 01
Vahalla, NY 10595-2321                                                                            MONROE LA 71203-4774


Citibank North America                            Citibank/The Home Depot                         Emory Eastside Medical Center
Citibank SD MC 425                                Citicorp Credit Srvs/Centralized Bk dept        Resurgent Capital Services
5800 South Corp Place                             Po Box 790034                                   PO Box 1927
Sioux Falls, SD 57108                             St Louis, MO 63179-0034                         Greenville, SC 29602-1927


Federal Home Loan Mortgage Corporation            Federal Home Loan Mortgage Corporation,         (p)GEORGIA DEPARTMENT OF REVENUE
6200 S. Quebec Street, Suite 300                  as Trustee                                      COMPLIANCE DIVISION
Greenwood Village, CO 80111-4720                  c/o Specialized Loan Servicing LLC              ARCS BANKRUPTCY
                                                  6200 S. Quebec Street, Suite 300                1800 CENTURY BLVD NE SUITE 9100
                                                  Greenwood Village, Colorado 80111-4720          ATLANTA GA 30345-3202

Anthony Leon Hicks                                Household Finance Co/OneMain Financial          Internal Revenue Service
5667 Bob White Circle NW                          Attn: Bankruptcy                                P O Box 7346
Lilburn, GA 30047-6123                            Po Box 3251                                     Philadelphia, PA 19101-7346
                                                  Evansville, IN 47731-3251


LVNV Funding, LLC                                 (p)DSNB MACY S                                  NetCredit
Resurgent Capital Services                        CITIBANK                                        Attn: Bankruptcy
PO Box 10587                                      1000 TECHNOLOGY DRIVE MS 777                    175 W. Jackson Blvd, Ste 1000
Greenville, SC 29603-0587                         O FALLON MO 63368-2222                          Chicago, IL 60604-2863


OneMain Financial                                 Orange Lake Resorts                             Performance Finance
Attn: Bankruptcy                                  Attn: Bankruptcy                                1515 W 22nd Street
Po Box 3251                                       9271 South John Young Parkway                   Oak Brook, IL 60523-2007
Evansville, IN 47731-3251                         Orlando, FL 32819-8607
               Case 22-51791-pwb                Doc 28       Filed 09/28/22         Entered 09/28/22 13:02:10              Desc Main
REGIONAL MANAGEMENT CORPORATION                         Regional
                                                           Document          Page 10 of 11                   Regional Fin
979 BATESVILLE ROAD SUITE B                             979 Batesville Rd                                    979 Batesville Rd
GREER                                                   Greer, SC 29651-6819                                 Greer, SC 29651-6819
SC
GREER, SC 29651-6819

Regional Finance                                        (p)REPUBLIC FINANCE LLC                              Resurgent Capital Services
979 Batesville Rd                                       282 TOWER RD                                         Attn: Bankruptcy
Greer, SC 29651-6819                                    PONCHATOULA LA 70454-8318                            Po Box 10497
                                                                                                             Greenville, SC 29603-0497


Robert Hicks                                            Philip L. Rubin                                      K. Edward Safir
5997 Hitt Lake Trail                                    Lefkoff Rubin Gleason Russo Williams PC              Standing Chapter 13 Trustee
Stone Mountain, GA 30087-6532                           Suite 900                                            Suite 1600
                                                        5555 Glenridge Connector                             285 Peachtree Center Ave. NE
                                                        Atlanta, GA 30342-4762                               Atlanta, GA 30303-1259

Sls/equity                                              Specialized Loan Servicing LLC                       Synchrony Bank/Chevron
Attn: Bankruptcy                                        6200 S. Quebec Street, Suite 300                     Attn: Bankruptcy
8742 Lucent Blvd.                                       Greenwood Village, Colorado 80111-4720               Po Box 965060
Highlands Ranch, CO 80129-2302                                                                               Orlando, FL 32896-5060


United States Attorney                                  Wayfinder BK as agent for Performance Financ         Wells Fargo Bank NA
Northern District of Georgia                            PO Box 64090                                         1 Home Campus Mac X2303-01a
75 Ted Turner Drive SW, Suite 600                       Tucson, AZ 85728-4090                                3rd Floor
Atlanta GA 30303-3309                                                                                        Des Moines, IA 50328-0001


Shannon Charlmane Worthy
Stanton and Worthy, LLC
547 Ponce De Leon Avenue NE
Suite 150
Atlanta, GA 30308-1881



                      The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                      by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                     GEORGIA DEPARTMENT OF REVENUE                        (d)Georgia Department Of Revenue
Attn: Bankruptcy                                        COMPLIANCE DIVISION, ARCS - BANKRUPTCY               1800 Century Blvd. NE
P.O. 15298                                              1800 CENTURY BLVD NE, SUITE 9100                     Atlanta, GA 30345
Wilmington, DE 19850                                    ATLANTA GA 30345-3205


Macys/fdsb                                              Republic Finance                                     (d)Republic Finance, LLC
Attn: Bankruptcy                                        1525 E Park Place Blvd S                             282 Tower Road
9111 Duke Boulevard                                     Stone Mountain, GA 30087                             Ponchatoula, LA 70454
Mason, OH 45040




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
               Case 22-51791-pwb                Doc 28   Filed 09/28/22 Entered 09/28/22 13:02:10 Desc Main
(d)AmeriCredit Financial Services, Inc. dba G       (u)Kimberly
                                                       Document HicksPage 11 of 11       (du)Kimberly Hicks
P O Box 183853                                      Debtor’s Address                    Debtor’s address
Arlington, TX 76096-3853



End of Label Matrix
Mailable recipients   45
Bypassed recipients    3
Total                 48
